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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:06CR168
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                     ORDER
                                             )
CORY SCOTT MIDDLETON,                        )
                                             )
              Defendant.                     )

       The government has filed a motion for reduction of sentence pursuant to Federal

Rule of Criminal Procedure 35(b) (Filing No.82).

       IT IS ORDERED:

       1.     A hearing on the government’s motion for reduction of sentence pursuant to

Rule 35(b), filing no. 82, has been set before the undersigned United States district judge

on April 21, 2008 at 3:00 p.m. in Courtroom No. 2, Roman L. Hruska U.S. Courthouse,

111 South 18th Plaza, Omaha, Nebraska.

       2.     Counsel for the Defendant, if previously appointed pursuant to the Criminal

Justice Act (“CJA”), is reappointed to represent the Defendant for purposes of the Rule

35(b) motion. If retained, counsel for the Defendant remains as counsel for the Defendant

until the Rule 35(b) motion is resolved or until counsel is given leave to withdraw;

       3.     The Federal Public Defender shall provide CJA counsel with a new voucher;

       4.     The Clerk of the Court shall provide a copy of this order to counsel for the

government, counsel for the Defendant, and the Federal Public Defender.

       DATED this 24th day of March, 2008.

                                          BY THE COURT:

                                           s/ Laurie Smith Camp
                                          United States District Judge
